
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a3531-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a3031-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3231-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3501-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3532-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3537-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0531-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3539-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3831-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3551-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3591-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3631-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3731-15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
